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 1                                                     THE HONORABLE BENJAMIN H. SETTLE

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 7                           UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF WASHINGTON AT TACOMA
 8
     IN THE MATTER OF THE COMPLAINT                        IN ADMIRALTY
 9   OF THE SCANDIES ROSE FISHING
     COMPANY LLC AND MATTSEN                               Case No. 3:20-cv-05376-BHS
10   MANAGEMENT LLC, AS OWNERS
     AND/OR OPERATORS OF THE VESSEL                        NOTICE OF SETTLEMENT
11   SCANDIES ROSE, OFFICIAL NUMBER
     602351, FOR EXONERATION FROM
12   AND/OR LIMITATION OF LIABILITY

13
            COME NOW the parties to this action and notify the Court that this matter has been
14
     settled and resolved between Limitation Plaintiffs and Claimants. Settlement funds will soon
15
     be received by counsel for Limitation Plaintiffs. Claimants have disputes between themselves
16
     with respect to their individual claims. The allocation of amounts between claimants are
17
     disputed. Due to the complexity of the litigation and because there is a minor involved in the
18
     proposed settlement, it will may take several months to finalize the settlement process between
19
     the Limitation Plaintiffs and Claimants. Accordingly the parties request that:
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21          1)      All pending dates, including the trial date, be stricken;

22          2)      That the parties advise the Court on or before January 3, 2021, of the status of

23   the settlement process.

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      NOTICE OF SETTLEMENT - 1                                    HOLMES WEDDLE & BARCOTT, PC
                                                                        3101 WESTERN AVE, SUITE 500
      Case No. 3:20-cv-05376-BHS                                            SEATTLE, WA 98121
                                                                         TELEPHONE (206) 292-8008
                                                                                FAX (206) 340-0289
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 2   Attorney Gerald Markham who represents three estates has not signed this
 3   notice. Mr. Markham does agree that as between Limitation Plaintiffs and claimants that a
 4   settlement has been reached but is subject to Alaska Superior Court approval of that settlement
 5   as provided in the Parties settlement agreement that states:
 6
            "In anticipation that this offer will be accepted and policy limits will be paid, the
 7          claimants will submit the appropriate paperwork for the Alaska Superior court’s
            minor approval and payment of any share to any minor. This offer is further
 8          conditioned on the Court’s approval that settlement within policy limits is in the
            best interests of the child."
 9

10   And while he has every expectation of the Alaska Superior Court approval that this settlement

11   within policy limits is in the best interests of the child' will be forth coming (which would allow

12   him to represent that as between Limitations Plaintiff and Claimants a settlement has been

13   reached) he feels he cannot sign this Notice which says settlement has been reached, when this

14   aspect of the case remains. He is further hesitant to sign any notice that suggests that this court

15   has no further jurisdiction over the parties until, as their settlement agreement provides, the

16   Claimants review the Limitation Plaintiff’s deductions from the policy and the exact sum due

17   under the agreement have been determined, the settlement funds have been paid and the

18   releases that limitation Plaintiff proposes is signed by all parties pursuant to the parties’

19   agreement and an allocation between claimants to those funds remain undecided. With regard

20   to the items number 1-2 he has authorized Limitation Plaintiff to state he agrees.

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      NOTICE OF SETTLEMENT - 2                                      HOLMES WEDDLE & BARCOTT, PC
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           Case 3:20-cv-05376-BHS Document 34 Filed 11/02/20 Page 3 of 4




 1        DATED this 2nd day of November, 2020.

 2                                  HOLMES WEDDLE & BARCOTT, P.C.

 3
                                    /s/ Michael A. Barcott
 4                                  Michael A. Barcott, WSBA #13317
                                    Daniel P. Barcott, WSBA #50282
 5                                  3101 Western Ave, Suite 500
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 6                                  Telephone:     206-292-8008
                                    Facsimile:     206-340-0289
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 8                                  Attorneys for Limitation Plaintiffs
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                                    Attorneys for Claimants Dean Gribble and Jon Lawler
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                                    COLUCCIO LAW
16
                                    /s/ Kevin Coluccio
17                                  Kevin Coluccio, WSBA #16245
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19                                  Phone: 206-826-8200
                                    Attorney for Claimant Estate of Seth Rousseau-Gano
20

21

22

23

24

     NOTICE OF SETTLEMENT - 3                           HOLMES WEDDLE & BARCOTT, PC
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                                                                TELEPHONE (206) 292-8008
                                                                     FAX (206) 340-0289
               Case 3:20-cv-05376-BHS Document 34 Filed 11/02/20 Page 4 of 4




 1   CERTIFICATE OF SERVICE

     I hereby certify that on this 2nd day
 2   of November, 2020, a true and
     correct copy of the foregoing was served via
 3   CM/ECF to:

 4   Attorneys for the Estate of Arthur Ganacias, the Estate of Brock Rainey, and the Estate of David Leigh
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     Gerald W. Markham
 5   Attorney at Law
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21   Telephone: (206) 282-3100

22   ___________________________
     Holly Mote
23
     G:\7483\32057\Pleading\DRAFTS\Notice of Settlement.docx
24

      NOTICE OF SETTLEMENT - 4                                        HOLMES WEDDLE & BARCOTT, PC
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